                      Case 2:09-cr-00155-MHT-WC Document 151 Filed 12/11/09 Page 1 of 6
A0 245B       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 1



                                         UNITED STATES DISTRICT COURT
                                                         MIDDLE District of ALABAMA

             UNITED STATES OF AMERICA                                     )         JUDGMENT IN A CRIMINAL CASE
                                  V.                                      )
                                                                          )
                                                                          )         Case Number:            2:09cr155-05-MHT
                    LENY HERNANDEZ
                                                                          )                                    (WO)
                                                                          )
                                                                          )         USM Number:             12777-002
                                                                          )
                                                                                    Richard Kelly Keith
                                                                                    Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        One of the Indictment on November 9, 2009

LI pleaded nob contendere to count(s)            _________________________
   which was accepted by the court.
LI was found guilty on count(s) ___________________________________
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                           Offense Ended             Count
21 USC 846                        Conspiracy to Possess with Intent to Distribute Cocaine                     7/30/2009
                                    Hydrochloride "Cocaine Powder"




       The defendant is sentenced as provided in pages 2 through                   6       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
LI The defendant has been found not guilty on count(s)
X Count(s) 2 and 3 of the Indictment                     0 is      X are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           December 9, 2009
                                                                           Date of Imposition of Judgment




                                                                              ig6ture of Judge




                                                                           MYRON H. THOMPSON, UNITED STATES DISTRICT JUDGE
                                                                           Name and Title of Judge



                                                                           Date
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A0 245B    (Rev. 09/08) Judgment in Criminal Case
           Sheet 2 - Imprisonment
                                                                                                   Judgment - Page     2   of   6
DEFENDANT:                    LENY HERNANDEZ
CASE NUMBER:                  2:09cr155-05-MHT


                                                          IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:


 24 Months



     X The court makes the following recommendations to the Bureau of Prisons:
        The court recommends that the defendant be designated to a facility that offers a community residential program called
        MINT (Mothers and Infants Nurturing Together) and where drug treatment is available.



     X The defendant is remanded to the custody of the United States Marshal.

     El The defendant shall surrender to the United States Marshal for this district:

          Uat _____________________ 0 a.m. 0 p.m. on
          El as notified by the United States Marshal.

     0 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          i:i before 2 p.m. on

          El as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                        to

 a                                                  with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL


                                                                        By
                                                                                              DEPUTY UNITED STATES MARSHAL
                          Case 2:09-cr-00155-MHT-WC Document 151 Filed 12/11/09 Page 3 of 6
AO 245B        (Rev. 09/08) Judgment in a Criminal Case
               Sheet 3 - Supervised Release
                                                                                                             Judgment—Page      3     of         6
DEFENDANT:                       LENY HERNANDEZ
CASE NUMBER:                     2:09cr155-05-MHT
                                                          SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 3 Years

          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
 El The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
 X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, f applicable.)
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

           The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901,et seq.)
 I         as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
           works, is a student, or was convicted of a qualifying offense. (Check, tf applicable.)

 U The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
      1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
            each month;
     3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)     the defendant shall support his or her dependents and meet other family responsibilities;
     5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceptable reasons;
     6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted permission to do so by the probation officer;
     10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation officer;
     11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            permission of the court; and

     13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
            record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
            defendant s compliance with such notification requirement.
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AD 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 3C - Supervised Release
                                                                                             Judgment—Page    4     of         6
DEFENDANT:                 LENY HERNANDEZ
CASE NUMBER:               2:09cr155-05-MHT

                                         SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall participate in a program approved by the United States Probation Office for substance abuse, which
may include testing to determine whether she has reverted to the use of drugs. The defendant shall contribute to the cost of
any treatment based on her ability to pay and the availability of third-party payments.
2. The defendant shall submit to a search of her person, residence, office and vehicle pursuant to the search policy of this
court.
3. In light of the defendant's undocumented status, upon the completion of the term of imprisonment, the defendant shall be
remanded to the custody of the Bureau of Immigration and Customs Enforcement for deportation proceedings in accordance
with the Immigration and Nationality Act. If deported, (a) the term of supervision shall be non-reporting while she lives
outside the United States, (b) the defendant shall not illegally reenter the United States, and ( c) if the defendant should
reenter the United States during the term of supervised release, she shall report to the nearest United States Probation Office
within 72 hours of arrival.
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AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties
                                                                                                    Judgment - Page       5     of         6
DEFENDANT:                         LENY HERNANDEZ
CASE NUMBER:                       2:09cr155-05-MHT
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                       Fine                                 Restitution
TOTALS             $ 100.00                                        $                                    $


 LI] The determination of restitution is deferred until             An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

 LI The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3 664(i), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                 Total Loss*                    Restitution Ordered                     Priority or Percenta2e




 TOTALS                              $                                    $


 LI Restitution amount ordered pursuant to plea agreement $

 LI The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 LI The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       O the interest requirement is waived for the 0 fme 0 restitution.

       LI the interest requirement for the LI fme LI restitution is modified as follows:



 * Findings for the total amount of losses are required under Chapters 1 09A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
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AU 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 6— Schedule of Payments
                                                                                                         Judgment—Page        6     of        6
DEFENDANT:                  LENY HERNANDEZ
CASE NUMBER:                2:09cr155-05-MHT

                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A X Lump sum payment of$ 100.00                             due immediately, balance due

           Dnot later than ________________________ ,or
           IJ in accordance      0 C,       D, 0 E, or D F below; or

 B 0 Payment to begin immediately (may be combined with fl C,                           D, or        F below); or

 C 0 Payment in equal _____________ (e.g., weekly, monthly, quarterly) installments of $        _____________ over a period of
          ________ (e.g., months or years), to commence ___________ (e.g., 30 or 60 days) after the date of this judgment; or

 O 0 Payment in equal _____________ (e.g., weekly, monthly, quarterly) installments of $         _____________ over a period of
           ________ (e.g., months or years), to commence ___________ (e.g., 30 or 60 days) after release from imprisonment to a
        term of supervision; or

 E D Payment during the term of supervised release will commence within ____________ (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F X Special instructions regarding the payment of criminal monetary penalties:
           All criminal monetary penalty payments shall be made to the Clerk, United States District Court, Middle District of Alabama, Post
           Office Box 711, Montgomery, Alabama 36101.




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 0 Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




 0 The defendant shall pay the cost of prosecution.

 0 The defendant shall pay the following court cost(s):

  0 The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
